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                       IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


 DEREK MYERS,                                  ) CASE NO. 2:19-CV-01458
                                               )
        Plaintiff,                             ) JUDGE ALGENON L. MARBLEY
                                               )
 vs.                                           ) NOTICE OF APPEARANCE
                                               )
 VILLAGE OF NEW HOLLAND, OHIO,                 )
 et al.,                                       )
                                               )
        Defendants                             )

       Defendants Village of New Holland, Ohio, Clair "Butch" Betzko, William "Jason"

Lawless, and Christopher Mosley, hereby notifies the Court and all counsel of record that Attorney

Elisabeth D. Gentile hereby enters her appearance as additional counsel on behalf of said

Defendants. Paul-Michael La Fayette will be the attorney with primary responsibility on this

matter. Mazanec, Raskin & Ryder Co., L.P.A. respectfully requests that the Court and all counsel

direct all notices, pleadings and other communications to the above, effective immediately.

                                             Respectfully submitted,

                                             MAZANEC, RASKIN & RYDER CO., L.P.A.

                                             s/Paul-Michael La Fayette
                                             ELISABETH D. GENTILE (0066886)
                                             PAUL-MICHAEL LA FAYETTE (0067031)
                                             175 South Third Street, Suite 1000
                                             Columbus, OH 43215
                                             T: 614-228-5931 | F: 614-228-5934
                                             egentile@mrrlaw.com
                                             plafayette@mrrlaw.com

                                             Counsel for Defendants Village of New Holland,
                                             Ohio, Clair "Butch" Betzko, William "Jason"
                                             Lawless, and Christopher Mosley
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 2, 2021, a copy of the foregoing Notice of Appearance was

filed electronically. Notice of this filing will be sent to all registered parties by operation of the

Court’s electronic filing system. Parties may access this filing through the Court’s system.



                                               s/Paul-Michael La Fayette
                                               PAUL-MICHAEL LA FAYETTE (0067031)

                                               Counsel for Defendants Village of New Holland,
                                               Ohio, Clair "Butch" Betzko, William "Jason"
                                               Lawless, and Christopher Mosley




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